 Case 1:21-cv-00027-LPS Document 80 Filed 06/18/21 Page 1 of 3 PageID #: 3925




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


ASTRAZENECA PHARMACEUTICALS LP,

                        Plaintiff,

        v.                                         C.A. No. 21-27 (LPS)

XAVIER BECERRA, in his official capacity           ADMINISTRATIVE PROCEDURE ACT
as Secretary of the U.S. Department of Health      REVIEW OF AGENCY DECISION
and Human Services;

DANIEL J. BARRY, in his official capacity as
Acting General Counsel of the U.S.
Department of Health and Human Services;

DIANA ESPINOSA, in her official capacity as
Acting Administrator of the Health Resources
and Services Administration;

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and

HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                        Defendants.


                  STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

        WHEREAS, on June 16, 2021, this Court issued a Memorandum Opinion and Order (D.I.

Nos. 78, 79), and directed the parties to submit a joint status report by June 18, 2021;

        WHEREAS, on June 17, 2021 President Biden signed into law legislation creating a

federal holiday to commemorate Juneteenth, and as result, the District Court will be closed on

June 18, 2021 in observance of the Juneteenth holiday; and




ME1 36790830v.1
 Case 1:21-cv-00027-LPS Document 80 Filed 06/18/21 Page 2 of 3 PageID #: 3926




        WHEREAS, counsel for Defendants has informed Plaintiff that Defendants will be

withdrawing the Advisory Opinion that is at issue in this litigation, and Plaintiff requires

additional time to consider the implications of this information;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

Plaintiff and Defendants, through their undersigned counsel and subject to the approval of the

Court, that the parties’ deadline to submit a joint status report is hereby extended to and

including Monday, June 21, 2021 (from Friday, June 18, 2021).




                                                 2

ME1 36790830v.1
 Case 1:21-cv-00027-LPS Document 80 Filed 06/18/21 Page 3 of 3 PageID #: 3927




Dated: June 18, 2021

MCCARTER & ENGLISH, LLP                   UNITED STATES DEPARTMENT OF JUSTICE

/s/ Daniel M. Silver                      BRIAN NETTER
Michael P. Kelly (#2295)                  Deputy Assistant Attorney General
Daniel M. Silver (#4758)
Alexandra M. Joyce (#6423)                MICHELLE BENNETT
Renaissance Centre                        Assistant Branch Director
405 N. King St., 8th Floor
Wilmington, DE 19801                      /s/ Rachael Westmoreland
Tel.: (302) 984-6300                      Rachael L. Westmoreland
Fax: (302) 984-6399                       Kate Talmor
mkelly@mccarter.com                       Jody Lowenstein
dsilver@mccarter.com                      United States Department of Justice
ajoyce@mccarter.com                       Civil Division
                                          Federal Programs Branch
Of Counsel:                               1100 L Street NW
                                          Washington, DC 20005
Allon Kedem                               (202) 514-1280
Jeffrey L. Handwerker                     rachael.westmoreland@usdoj.gov
Sally L. Pei
Stephen K. Wirth                          Attorneys for Defendants
ARNOLD & PORTER KAYE SCHOLER LLP
601 Massachusetts Ave., NW
Washington, DC 20001-3743
Tel.: (202)942-5000
Fax: (202) 942-5999
allon.kedem@arnoldporter.com
jeffrey.handwerker@arnoldporter.com
sally.pei@arnoldporter.com
stephen.wirth@arnoldporter.com

Attorneys for Plaintiff AstraZeneca
Pharmaceuticals LP


SO ORDERED this _____ day of _______________, 2021.

                             ____________________________________________
                             THE HONORABLE CHIEF JUDGE LEONARD P. STARK




                                          3

ME1 36790830v.1
